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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 13-0200CCC
 1) PABLO SOTO-HERNANDEZ,
 a/k/a “Cartoon”
 2) VICTOR RIJOS-NIEVES, a/k/a “Papo”
 3) CARLOS BONILLA-FELICIANO,
 a/k/a “Burro”
 4) EFRAIN SEGARRA-RIVERA, a/k/a “Toyo”
 5) DAYSON LEBRON-RODRIGUEZ,
 a/k/a “Day”
 Defendants



                                         ORDER

       Having considered the Report and Recommendation filed on August 26, 2013
(docket entry 104) on a Rule 11 proceeding of defendant Efraín Segarra-Rivera (4) before
U.S. Magistrate Judge Marcos E. López on August 14, 2013, to which no objection has been
filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is accepted. The
Court FINDS that his plea was voluntary and intelligently entered with awareness of his
rights and the consequences of pleading guilty and contains all elements of the offense
charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since August 14, 2013.        The sentencing hearing is set for
November 14, 2013 at 4:40 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on September 24, 2013.



                                                S/CARMEN CONSUELO CEREZO
                                                United States District Judge
